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                         IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

HANOVER INSURANCE COMPANY,
    Plaintiff

VS.                                           DOCKET NO. 1:15-CV-13635-FDS

CRUM & FORSTER SPECIALTY
INSURANCE COMPANY,
     Defendant

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed.R.Civ.P. 41(a)(1)(ii), Hanover Insurance Company and Crum & Forster

Specialty Insurance Company hereby stipulate and agree that the action, be dismissed with

prejudice, without costs and waiving all rights of appeal.

Counsel for the Plaintiff:                         Counsel for the Defendant:


       /s/ John H. Bruno II                               /s/ R. Cornelius Danaher, Jr.
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                                CERTIFICATE OF SERVICE

        I, John H. Bruno II, hereby certify that this document filed through the CM/ECF system
will be sent electronically to the registered participants as identified on the NEF (NEF) and paper
copies will be sent to those indicated as non-registered participants on March 23, 2016.

                                              Respectfully submitted,


                                                     /s/ John H. Bruno II
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